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                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION


    In re                                                            Chapter 11

    LTL MANAGEMENT LLC,1                                             Case No. 21-30589 (JCW)

                               Debtor.


                         AMENDED2 NOTICE OF AGENDA OF MATTERS
                        SCHEDULED FOR HEARING ON OCTOBER 20, 2021

    Time of Hearing:             9:30 a.m. (prevailing Eastern Time)

    Location of Hearing:         The hearing scheduled for Wednesday, October 20, 2021, at 9:30 a.m.
                                 will be conducted in person in Courtroom 8, U.S. Bankruptcy Court,
                                 401 W. Trade Street, Charlotte, NC 28202. Livestreaming will be
                                 available in Courtrooms 2B and 2A, if necessary. If attorneys do not
                                 anticipate speaking during the hearing, please consider observing the
                                 proceedings from Courtroom 2B or 2A.

                                 TELEPHONIC APPEARANCES are limited to attorneys announcing
                                 an appearance for a client in this case. Otherwise, you may appear in
                                 person or listen to the recording of the hearing using a Pacer account.
                                 Recordings will be made available on the court’s docket generally
                                 within 24 hours of the hearing.

                                 Please contact Judge Whitley’s law clerk, Ayrin Cooke at
                                 Ayrin_Cooke@ncwb.uscourts.gov if you have further questions or need
                                 dial-in instructions.

1.          Debtor’s Application for an Order Authorizing the Retention and Employment of Epiq
            Corporate Restructuring, LLC, as Claims, Noticing and Ballot Agent [Dkt. 6].

            Status: This matter is going forward.

            Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time




1
            The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
            501 George Street, New Brunswick, New Jersey 08933.
2
            Amended agenda items appear in bold.



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         Related Documents:

         A.        Informational Brief of LTL Management LLC [Dkt. 3] (the “Informational
                   Brief”).

         B.        Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 5] (the “First
                   Day Declaration”).

         C.        Debtor’s Ex Parte Motion for Entry of an Order (I) Scheduling an Emergency
                   Hearing on Certain First Day Pleadings and (II) Approving the Form and Manner
                   of Limited Notice Thereof [Dk. 22] (the “Emergency Hearing Motion”).

         D.        Ex parte Order Granting the Emergency Hearing Motion [Dkt. 34]
                   (the “Emergency Hearing Order”).

         E.        Notice of Chapter 11 Filing and of Emergency Hearing on First Day Pleadings
                   [Dkt. 37] (the “Notice of Emergency Hearing”).

         Objections Received: None to date.

2.       Debtor’s Motion for an Order: (I) Authorizing It to File a List of the Top Law Firms with
         Talc Cases against the Debtor in Lieu of the List of 20 Largest Unsecured Creditors;
         (II) Approving Certain Notice Procedures for Talc Claimants; and (III) Approving the
         Form and Manner of Notice of Commencement of this Case [Dkt. 7].

         Status: This matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.        Informational Brief.

         B.        First Day Declaration.

         C.        Emergency Hearing Motion.

         D.        Emergency Hearing Order.

         E.        Notice of Emergency Hearing.

         Objections Received:

         F.        Maune Raichle Hartley French & Mudd, LLC’s Objection to (A) Debtor’s
                   Motion for an Order: (I) Authorizing it to File a List of the Top Law Firms
                   with Talc Cases Against the Debtor in Lieu of the List of the 20 Largest
                   Unsecured Creditors; (II) Approving Certain Notice Procedures for Talc
                   Claimants; and (III) Approving the Form and Manner of Notice of
                   Commencement of this Case; and (B) Debtor’s Motion for Entry of an Order


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                   Establishing Certain Notice, Case Management and Administrative
                   Procedures [Dkt. 51] (the “Notice Objection”).

         G.        Limited Omnibus Objection of the MDL Plaintiffs’ Steering Committee to
                   the Debtor’s First Day Motions [Dkt. 67] (the “Omnibus Objection”).

         H.        Limited Objection and Reservation of Rights of the Blue Cross and Blue
                   Shield Association to Debtor’s Motion for an Order: (I) Authorizing It to File
                   a List of the Top Law Firms with Talc Cases against the Debtor in Lieu of
                   the List of 20 Largest Unsecured Creditors; (II) Approving Certain Notice
                   Procedures for Talc Claimants; and (III) Approving the Form and Manner
                   of Notice of Commencement of this Case [Dkt. 72].

3.       Debtor’s Motion for Entry of an Order Establishing Certain Notice, Case Management
         and Administrative Procedures [Dkt. 10].

         Status: This matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.        Informational Brief.

         B.        First Day Declaration.

         C.        Emergency Hearing Motion.

         D.        Emergency Hearing Order.

         E.        Notice of Emergency Hearing.

         Objections Received:

         F.        Notice Objection.

4.       Debtor’s Motion for an Order: (I) Approving the Continued Use of its Bank Account and
         Business Forms; (II) Granting a Waiver of the Requirements of Section 345(b) of the
         Bankruptcy Code; and (III) Authorizing the Debtor’s Bank to Charge Certain Fees and
         Other Amounts [Dkt. 11].

         Status: This matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.        Informational Brief.



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         B.        First Day Declaration.

         C.        Emergency Hearing Motion.

         D.        Emergency Hearing Order.

         E.        Notice of Emergency Hearing.

         Objections Received:

         F.        Omnibus Objection.

5.       Debtor’s Emergency Motion to Enforce the Automatic Stay Against Talc Claimants Who
         Seek to Pursue Their Claims Against the Debtor and its Non-Debtor Affiliates [Dkt. 44]
         (the “Stay Enforcement Motion”).

         Status: A proposed Order Scheduling Emergency Hearing with respect to
         this matter has been submitted to the Court. If that order is entered, this
         matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.        Informational Brief.

         B.        First Day Declaration.

         C.        Debtor’s Ex Parte Motion Requesting Authority to Exceed Maximum Page Limit
                   [Dkt. 43].

         D.        Debtor’s Ex Parte Motion for Entry of an Order Scheduling an Emergency
                   Hearing on the Motion to Enforce the Automatic Stay [Dkt. 45] the (“Emergency
                   Hearing Motion”).

         E.        Ex Parte Order Granting the Debtor Authority to Exceed Maximum Page Limit
                   [Dkt. 46].

         F.        Motion to Strike (defined below).

         Objections Received:

         G.        Maune Raichle Hartley French & Mudd, LLC’s Objection to Debtor’s
                   Emergency Motion to Enforce the Automatic Stay against the Debtor and its
                   Non-Debtor Affiliates [Dkt. 53].




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6.       Motion of the MDL Plaintiffs’ Steering Committee to Strike Debtor’s Emergency
         Motion to Enforce the Automatic Stay and Objection to Scheduling an Emergency
         Hearing; and, in the Alternative, Motion to Reconsider the Order Scheduling an
         Emergency Hearing [Dkt. 76] (the “Motion to Strike”).

         Status: A proposed Order Scheduling Emergency Hearing with respect to the Stay
         Enforcement Motion has been submitted to the Court. If that order is entered, the
         Motion to Strike will go forward as well.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.        Informational Brief.

         B.        First Day Declaration.

         C.        Stay Enforcement Motion.

         D.        Emergency Hearing Motion

         E.        Ex Parte Motion to Shorten Notice on Motion to Strike [Dkt. 77].

         Objections Received: None to date.




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 Dated: October 19, 2021                     Respectfully submitted,
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                                             John R. Miller, Jr. (NC 28689)
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                                             PROPOSED ATTORNEYS FOR DEBTOR




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